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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA


 L&M TRANSPORTATION SERVICES,
 INC.,
                                                    Case No: 5:17-cv-00503
                Plaintiff,

 v.
                                                    DEMAND FOR JURY TRIAL
 JAMES EDWARD MCCURLEY, II,

                Defendant.


                                          COMPLAINT

       Plaintiff L&M Transportation Services, Inc., by and through its undersigned counsel, for

its Complaint against Defendant James Edward McCurley, II, alleges and says:

                                            PARTIES

       1.      Plaintiff L&M Transportation Services, Inc. (“Plaintiff”) is a North Carolina

corporation, with its principal place of business located at 2925 Huntleigh Drive, Suite 104,

Raleigh, North Carolina 27604.

       2.      Upon information and belief, Defendant James Edward McCurley, II

(“Defendant”) is a resident of the State of Alabama and maintains a dwelling or usual place of

abode at 406 North Maloy Street, Opp, Alabama 36467.

                                   JURISDICTION AND VENUE

       3.      Jurisdiction exists in this action under 28 U.S.C. § 1332 because there is a diversity

of citizenship between Plaintiff and Defendant, and the amount in controversy exceeds $75,000,

exclusive of interest and costs.




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        4.       Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claim occurred in the State of North Carolina.

Specifically, at all times relevant hereto, Defendant acted as Plaintiff’s agent, arranging truckload

freight services on behalf of Plaintiff, and entered into multiple binding contracts with Plaintiff,

which is a North Carolina corporation with a principal place of business in this district.

                                                FACTS

        5.       Plaintiff is a third-party logistics provider of, among other things, regional, national

and international transportation services.

        6.       At all relevant times, Defendant acted as Plaintiff’s agent.

        7.       In his role as Plaintiff’s agent, Defendant would arrange truckload freight services

in exchange for certain monetary and non-monetary consideration provided to Defendant by

Plaintiff.

        8.       Prior to September 2012, Defendant, acting as Plaintiff’s agent, arranged truckload

freight services for a now-defunct entity known as Cardile Bros. Mushroom Packaging Inc.

(“Cardile Brothers”).

        9.       Despite Plaintiff having honored all of its obligations to Cardile Brothers, Cardile

Brothers failed to pay Plaintiff for the transportation services rendered.

        10.      The total freight charges owed by Cardile Brothers to Plaintiff is $441,700.00 (the

“Cardile Brothers Debt”).

        11.      As Plaintiff’s agent, Defendant is responsible for 50% of the Cardile Brothers Debt,

or $220,850.00 (the “Agent Debt”)

        12.      To evidence his indebtedness, on or about September 18, 2012, Defendant executed

in favor of, and delivered to, Plaintiff a Promissory Note in the principal amount of $220,850.00




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(as amended, the “Promissory Note”). A true and correct copy of the Promissory Note is attached

hereto as Exhibit A and incorporated herein by reference.

       13.      The Promissory Note provides that Defendant’s monthly commission would be

adjusted by $2,000 per month until the Agent Debt is paid in full.

       14.      The Promissory Note was amended in April 2013 to provide that Defendant’s

monthly commission would be adjusted by $1,000 per month until the Agent Debt is paid in full.

       15.      On or about September 14, 2016, Plaintiff and Defendant entered into that certain

Agency Agreement for L&M Transportation Services, Inc. (the “Agency Agreement”). A true

and correct copy of the Agency Agreement is attached hereto as Exhibit B and incorporated herein

by reference.

       16.      Pursuant to the Agency Agreement, Defendant acknowledged that the amount

owed by Defendant to Plaintiff under the Note at that time totaled $199,850.00.

       17.      Pursuant to the Agency Agreement, Defendant agreed that his monthly commission

would be adjusted by 5% per month until the Note is paid in full.

       18.      Pursuant to the Agency Agreement, Defendant further agreed that “[i]n the event

[Defendant] discontinues doing freight business through [Plaintiff], the unpaid balance due on the

[Note] will be payable on demand.”

       19.      On or about December 16, 2016, Defendant resigned as an agent for Plaintiff. See

December 16, 2016 email from Defendant to Plaintiff attached hereto as Exhibit C and

incorporated herein by reference.

       20.      At the time of his resignation, Defendant agreed that the amount owed by

Defendant to Plaintiff under the Note totaled $147,012.00. Further, Defendant agreed to “honor

the Cardile debt as promised.”




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       21.      Following his resignation, Plaintiff credited $26,681.48 against the Note to reflect

commissions on accounts arranged by Defendant which were collected after his resignation. Thus,

the outstanding amount of the Note is $120,330.52 (the “Note Balance”).

       22.      Pursuant to the terms of the Agency Agreement, as Defendant has discontinued

acting as Plaintiff’s agent, the Note Balance is due upon demand.

       23.      On or about July 22, 2017, Plaintiff demanded payment of the Note Balance in full.

A true and correct copy of the July 22, 2017 demand letter is attached hereto as Exhibit D and

incorporated herein by reference.

       24.      On or about August 18, 2017, Plaintiff renewed its demand for payment of the Note

Balance in full. A true and correct copy of the August 18, 2017 demand letter is attached hereto

as Exhibit E and incorporated herein by reference.

       25.      Despite demand by Plaintiff, Defendant has failed and refused to honor his

obligations to Plaintiff pursuant to the terms and conditions of the Note and the Agency

Agreement.

                                          FIRST COUNT
                                        (Breach of Contract)

       26.      Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       27.      Plaintiff entered into a valid and enforceable contracts, the Note and the Agency

Agreement, with Defendant.

       28.      Pursuant to those contracts, Defendant agreed, among other things, that if any

portion of the Note was outstanding at the time Defendant discontinued acting as Plaintiff’s agent,

the Note Balance is due upon demand.

       29.      Defendant discontinued acting as Plaintiff’s agent on or about December 16, 2016.

       30.      Despite demand, Defendant has failed to pay the Note Balance to Plaintiff.



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       31.      Defendant has therefore breached his obligations under the Note and the Agency

Agreement by failing to pay the Note Balance to Plaintiff upon demand.

       32.      At the time of this Complaint, the Note Balance is not less than $120,330.52, plus

pre- and post-judgment interest accruing at the legal rate and all other sums provided for under the

Note and the Agency Agreement.

       WHEREFORE, Plaintiff demands judgment in its favor and against Defendant in an

amount not less than $120,330.52, plus pre- and post-judgment interest accruing at the legal rate

and all other sums provided for under the Note and the Agency Agreement, and such other and

further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff L&M Transportation Services, Inc. hereby

demands a trial by jury with the maximum number of jurors permitted by law.

Dated: October 5, 2017                        /s/ John M. Sperati
                                              John M. Sperati
                                              N.C. State Bar No. 31810
                                              Smith Debnam Narron Drake
                                              Saintsing & Myers, LLP
                                              4601 Six Forks Road, Suite 400
                                              Raleigh, North Carolina 27609
                                              Telephone: (919) 250-2000
                                              Facsimile: (919) 250-2211
                                              Jsperati@smithdebnamlaw.com
                                              Attorney for Plaintiff

OF COUNSEL
Eric Larson Zalud, Esq.
Benesch, Friedlander, Coplan & Aronoff LLP
200 Public Square, Suite 2300
Cleveland, Ohio 44114-2378
Telephone: (216) 363-4178
Facsimile: (216) 363-4588
ezalud@beneschlaw.com




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Kevin M. Capuzzi, Esq.
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222 Delaware Avenue, Suite 801
Wilmington, DE 19801
Telephone: (302) 442-7010
Facsimile: (302) 442-7012
kcapuzzi@beneschlaw.com

                                  Attorneys for Plaintiff L&M Transportation Services, Inc.




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                          Exhibit A




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                                                  Protnissory Note



          September 18, 2012


          This promissory note between LMTS an irnmy McCurley is for collection
                                                                                     of bad debt in the
          matter of Ca qe 19pot    freight ch :es, a 50% share of which is the responsibility of Yinimy
          McCurley, a ent for LM S

         The total a otht •f bad       is S441,700.00. Each month, beginning 5,1ilv /ficf 20 the
         arnount of                 Will be adjusted from Jimmy McCurley's paid gross profit in
         calculatin his o thly commission amount, until the entire $441,700
                                                                              .00 is charged off. Jimmy
         McCurle                n rate of50% will apply to the ent[re amount, so that the total charged to
         his cornmi.sion      e $220,850.00.

         In the event that any money is recovered from the debtor(Cardile Brothers) or its assets,
                                                                                                   that
         arnount will be deducted from the above charge off amount.

         This is a binding contract.



         Mike Moore(LMTS)


        Jimmy McCurley




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                          Exhibit B




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                                          Agent Agreement for L&M Transportation Servlces, Inc,

                                                    James Edward McCurley, freight agent



                              j/
          Effective thls the /(.0   day oF September, 2014, L&M Transportation Services, Inc.(LMTS)and James Edward
          McCurley enter into a binding agreement as regards the marketing of truckload freight services In whlch:

             •  Jam Cs EdWard mcCurley will continue to arrange freight services through LMTS
             •  LMT5 will continue to provide back offlce and accounting services for all business James Edward Mccurlev
               solicits on behalf of LMTS
             • James Edward McCurley will earn a commission of 55% of the pald gross proflt on all pald frelght invoices
               for the loads he has arranged
             • Additionally, 596 of the pald gross profit wlll be applled to paying off the promissory note held by LMTS
               and signed by Jamej Edward McCuriey current balance of which is            $199,850M        until such time as
               the entire note is paid off, at which time, the additional 5% wlll be paid to Jarnes Edward mcCurlay as
               well.
             •    In the event James Edward McCorley discontinues doing freight business through LMTS,the unpaid



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                                                                 ,
                  balance due on the promissory note wlll be payable on demand.

                                                                 6„„4
       Signatur

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            - /)1                                     /07              /o"li

       Print Name

                               /
      Date



      State of Alabama



                     (name and style of officer) hereby certlfy that           whose name
                                                                       aid
     is slgned to the foregoing conveyance, and who ls known to me, acknowle aed breiame
     on this day that, being Informed of the contents of the conveyance, he executed the same

     voluntarily on the day the same bears date.

     Glyn unIF
            fte r     hand this      &day o

     (5       —Lill(              • 4

     Notary Public In and for said

     County In sald State
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                            Exhibit C




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 Betsy Summerlin

 From:                          Mike Devine
 Sent:                          Friday, December 16, 2016 3:27 PM
 To:                            Betsy Summerlin; Tom Devine; Dan Giddens
 Subject:                       FW: Resignation and plans forward




                    .         _
From: JIrnmy McCurley [mallto:ImtransportatIon@yahoo.corn]
Sent: Friday, December 16, 2016 1:44 PM
To: Mike Devine
Subject: Re: Reslgnation and plans forward

yes sir agreed I will clean up all in a timely matter hate to resign but life goes on. l will honor the
Cardile debt as promised.
Jimmy McCurley Broker, River Place Logistics, inc. 334.493.8860 Office 334.343.0500 Cell
334.493.8864 Fax


From: Mike Devine <Mike.DevineOLMTS.com>
To: Jimmy McCurley <Irntransportationavahoo.corn>
Cc: Betsy Summerlin <Betsy.SummerlinaLMTS.com>; Tom Devine <Torn.DevinerALMTS.Com>; Jim Devine
<Jim.Devine@LMTS,com>; Dan Giddens <dan.olddenslmis.corrl>
Sent: Friday, December 16, 2016 12:37 PM
Subject: Resignation and plans forward

Jimmy,

Although l am very disappointed that you are leavIng LMTS as an agent , I wish you all the best in the
future. l enjoyed the time that we worked together at LMTS. Thank you for representing LMTS in a
respectful and professional manner.

We discussed some of the business that we need to take care of in the next 90 days. The following is
a partial list of the things that need to be work on:

1.      We need a written resignation with a date of your last day at LMTS---simple emall is sufficient.
2.      Effective today Dec 16, 2016 LMTS will withhold all commissions due to you for 90 days.
3.      LMTS and you will diligently work together to clear up all claims, AR issues etc...collect all
money that owed to LMTS in the next 90 days,
4.     At the end of 90 days( 3/16/2017)LMTS will deduct all money not collected from all money
that is owed to you. Any balance owed to you at the end of 90 days, will be applied to the Cardile debt
total.
5,      Re: The Cardile debt that you have been paying at 5% of your monthly gross commission as
per our agreement. You stated that you will continue to honor this commitment until this
debt($147,012.00 balance as of 12/16/2016). For ease of bookkeeping, l suggest that we agree on a
predetermined monthly amount rather than using different amounts each month. l suggest a monthly
amount of $2,000.00 minimum per month until the debt is paid in full.


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 Betsy, Tom, 17.)n, Jirriaind me will be leading thls 90 day project. Please copy all of us on all emails.

Thanks kindly...md
Mike Devine
President
Orrtec 800-632-3030 l Mobilo
L&M Transportation Services, lite.
2925 Huntleigh Drivo. Suite 104 l Raleigh. NC: 27604
latts.cont




M ke Devine
President
Office 800-632-3030 1 Mobilc
L&M Transportation Services, Me.
2925 Huntleigh Drive, Suite 104 I Raleigh, NC: 27604




                                                       2




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                           Exhibit D




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rLBenesch     Attorneys at Law
                                                                                          Eric L. Zalud
                                                                         200 Public Square, Suite 2300
                                                                          Cleveland, Ohio 44114-2378
                                                                            Direct Dial: 216.363.4178
                                                                                   Fax: 216.363.4588
                                                                             ezalud@beneschlaw.com
                                                 July 22, 2017                          BrsrLawycis
                                                                                        LAW FIRM
 VIA FEDEX AND CERTIFIED MAIL                                                           OFTHE YEAR
                                                                                     IMMIk
                                                                                      mvismatato:
                                                                                                .
 James Edward McCurley II
 205 Parker Avenue
 Opp, AL 36467

        Re:     L&M Transportation Services,Inc. v. James Edward McCurley II

 Dear Mr. McCurley:

        Please be advised that this firm represents L&M Transportation Services, Inc.("LMTS")
 in connection with the pending dispute between LMTS and you. A11 future correspondence and
 communication regarding this matter should be directed to our office.

         As you are aware, you are indebted to LMTS by virtue of that certain Prornissory Note
 originally dated Septernber 18, 2012 (as amended, the "Note"), arising as a result of bad debt in
 the Cardile Brothers matter, which you arranged as LMTS's agent. A true and correct copy of
 the Note is attached hereto as Zchibit A. As you are further aware, you subsequently entered
 into that certain Agency Agreement with LMTS dated Septernber 16, 2014. A true and correct
 copy of the Agency Agreement is attached hereto as Exhibit B.

        Pursuant to the Agency Agreement, you agreed to continue to act as LMTS's agent to
 arrange truckload freight services in exchange for certain monetary and non-monetary
 consideration provided to you by LMTS. In connection with the Agency Agreement, you
 acknowledged that the balance due on the Note was $199,850.00, and you agree that, in the event
 you discontinued doing business with LMTS, the reniaining unpaid balance on the Note would
 be payable in full upon demand.

        As you are aware, on or about Decernber 16, 2016, you resigned as an agent for LMTS.
See December 16, 2016 email from you to Mike Devine attached as Exhibit C hereto. At that
time, you also confirmed in writing that you owed not less than $147,012.00 on the Note (the
"Note Balance") and that you would "honor the Cardile debt as promised" by making payrnents
on the Note in the amount of $2,000 per month. Notwithstanding that promise, you have failed
to make a single payment on the Note since your resignation.

       Accordingly, given that you have voluntarily discontinuecl doing business with LMTS,
pursuant to the Agency Agreernent, LMTS hereby DEMANDS that you pay the entire Note
Balance on or before Auzust 1. 2017. A certified check in the arnount of $147,012.00 shall be
made payable to L&M Transportation Services, Inc. and delivered to:




                                     www.beneschlaw.corn




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 James Edward McCurley II
 July 22, 2017
 Page 2


                Benesch, Friedlander, CopIan & Aronoff LLP
                222 Delaware Avenue, Suite $01
                Wilmington, DE 19801-1611
                Attn: Kevin M. Capuzzi

 In the event that the Note Balance is not paid in full on or before August 1, 2017, LMTS will
 take all measures necessary to recover the Note Balance and all costs of collection, inchiding,
 without limitation, pre-judgment interest, post-judgment interest, and attorneys' fees.

         LMTS expressly reserves all rights to exercise any and all remedies that may be available
 to it without further notice, whether arising by contract, operation oflaw, or otherwise.

         Should you have any questions, please contact me or have your counsel contact me.

                                                 Very truly yours,

                                                 BENESCH,FRIEDLANDER,
                                                  COPLAN & ARONOFF LLP



                                                Eric L. Zalud

Enclosures


cc:     Tom Devine (via-email)
        Kevin Capuzzi (via e-mail)




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         EXHIBIT A




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                                                   Proraissory Note



          September 18, 2012


         This promissory note between LMTS an immy McCurley is for collection
                                                                                    of bad debt in the
         matter of Carple         freight ch :es, a 50% share of which is the responsibility of.limrny
         McCurley, agent for LM S.

         The total a       f bad                                                            i sr
                                            is 34-41,700_00. Each month, beginning 5;-il" t Of20.12, the
         amount of         0 ...,1----
                                         will be adjusted from Jinuny McCurley's paid gross profit in
         calculatin                    commission amount, until the entire $441,700.00 is charged off. Jimmy
         McCurle                    n rate of50% will apply to the entire amount, so that the total charged to
         his commi              e $220,850.00,

        In the event that any rnoney is recovered from the debtor(Cardile Brothers) or
                                                                                       its assets, that
        amount will be deducted from the above oharge off amount.

        This is a binding contract.



        Mike Moore(LMTS)


        Jimmy McCurley




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          EXHIBIT B




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                                          Agent Agreement for L&M Transportation Services, Inc.               AO. rtitit114MCS
                                                                                                                   atLt)t1 trd- -(4'0131
                                                   James Edward McCurley, freight agent
                                                                                                                                  cVA

        Effective this the AP     day of September, 2014, L&M Transportation Servlces, Inc.(LMTS)and James Edward
        McCurley enter into a blnding agreement as regards the marketing of truckload freight servlces In whlch:

            •     James Edward McCurley wIll contlnue to arrange rrelght services through LMTS
            •     LMT5 wlll continue to provide back offlce and accountlng servlces for all business James Edward McCuriev
                  solicits on behalf of LMTS
            •    James Edward McCvrley will earn a commission of 55% of the pald gross proflt on all pald frelght Invoices
                 for the loads he has arranged
            •    AddltIonally, 5% of the pald gross proflt will be applled to paylng off the prornIssory note held by LMTS
                 and slgned by James Edward mccurley current balance of whlch Is           $199,850,00       untll such tlme as
                 the entlre note ls pald off, at which time,the additional 5% will be paid to James Edward McCtirley as
                 well.
            •    In the event James Edward McCurlev dlscontlnues dolng frelght buslness through LMTS, the unpaid
                 balance due on the promlssory note wlll be payable on demand.
                                                        /i /7
            nr1-6               - e.Z1v-1.4.4-6/( /4 k 6.04.Ve?
      Signatur

                              L-
                               e4141-r-oL /02                           jj_.../
                                                                      /e/
      Print Name




     Date



     State of Alabama



                    (name and style of officer) hereby certify that          whose name
                                                                     Ctio LearLI.-1
     Is slgned to the foregoing conveyance, and who Is known to me,acknowledged beforeime

     on thls day that, being lnforrned of the contents of the conveyance, he executed the same

     voluntarily on the day the same bears date.

     Given u .er n hand thls t(o t 'ciay o                0/1-:

                                1    de



     Notary Public in and for said

    County In said State                      fv,b041,-4-)
                 cim,„,,v-,-0=24„.
                  10/4‘,,


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         EXHIBIT C




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 Betsy Summerlin

From:                          Mike Devine
Sent:                          Friday, December 16, 2016 3:27 PM
To:                            Betsy Summerlin; Tom Devine; Dan Giddens
Subject:                       FW: Resignation and plans forward




From: Jlmmy McCurley [mailto:lmtransportatIon@yahoo.com]
Sent: Friday, December 16, 2016 1:44 PM
To: Mike Devine
Subject: Re: Resignation and plans forward

yes sir agreed l will clean up all in a timely matter hate to resign but life goes on. l will honor the
Cardile debt as promised.
Jimmy McCurley Broker, River Place Logistics, inc. 334.493.8860 Office 334.343.0500 Cell
334.493.8864 Fax


From: Mike Devine <Mike.gevineaLMTS.com>
To: Jimmy McCurley <Inntransportationavahoo.cort>
Cc: Betsy Summerlin ‹Betsv.Summerlin(aLMTS.com>; Tom Devine <Tom.DevineftLMTS.Corn>; Jim Devine
‹Jim.DevineaLMTS.com>; Dan Giddens <dan.olddensalmts.com>
Sent: Friday, December 16, 2016 12:37 PM
Subject: Resignation and plans forward

Jimmy,

Although l am very disappointed that you are Ieaving LMTS as an agent , I wish you aIl the best in the
future. l enjoyed the time that we worked together at LMTS. Thank you for representing LMTS in a
respectful and professional manner,

We discussed some of the business that we need to take care of in the next 90 days. The following is
a partial list of the things that need to be work on:

1.     We need a written resignation with a date of your last day at LMTS---simple email is sufficient.
2.      Effective today Dec 16, 2016 LMTS will withhold all commissions due to you for 90 days.
3.     LMTS and you will diligently work toqether to clear up all claims, AR issues etc...collect all
money that owed to LMTS in the next 90 days.
4.     At the end of 90 days( 3/16/2017 )LMTS will deduct all money not collected from all money
that is owed to you. Any balance owed to you at the end of 90 days, will be applied to the Cardile debt
total.
5.     Re: The Cardile debt that you have been paying at 5% of your monthly gross commission as
per our agreement. You stated that you will continue to honor this commitment until this
debt($147,012.00 baiance as of 12/16/2016). For ease of bookkeeping, l suggest that we agree on a
predetermined monthly amount rather than using different amounts each month. l suggest a monthiy
arnount of $2,000.00 minimum per month until the debt is paid in full.


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 Betsy, Tom, Dan,Jini and me will be leading this 90 day project. Please copy all of us on all emails.

 Thanks kindly...md
Mikc Devine
President
Wilco 800-632-3030 i Mobilo
1,84N1 Transportation Services, lne.
2925 Huntloigh Drive. Suite 104 Raleigh. NC; 27604




 Mike Devine
President
Office 800-632-3030 1 Mobilo
(AM Transportation Services, Inc.
2925 Huntleigh Drive, Suite 104 i Raleigh, NC; 27604
jathILVL




                                                       2




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                           Exhibit E




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-- enesch
B               Attorneys at Law
                                                                                             Eric L. Zalud
                                                                            200 Public Square, Suite 2300
                                                                             Cleveland, Ohio 44114-2378
                                                                               Direct Dial: 216.363.4178
                                                                                       Fax: 216.363.4588
                                                                                 ezalud@beneschlaw.com


                                                    August 18, 2017




  VgA EMML
  David S. Baker
  Laird, Baker,& Blackstock, LLC
  501 North Main Street
  Opp, AL 36467

          Re:    L.&111 Transportation Services, Inc. v. .lames Edward McCurley II

  Dear Mr. Baker:

          As you know, this firm represents L&M Transportation Services, Inc. ("LMTS") in
  connection with the pending dispute between LMTS and your client, James Edward McCurley
  II. I write in reply to your August 1, 2017 letter, which you sent in response to LMTS's July 22,
  2017 demand letter.

         The August 1 letter is replete with inaccuracies. While I do not believe it is productive to
  respond to each point you have made,I will respond to certain ofthe more relevant points.

        First, with respect to the amount due, attached to this letter as Exhibit A is an accounting.
 The accounting begins on December 16, 2016, which is the date on which Mr. McCurley agreed
 to owing LMTS at least $147,Q12.00 on the Note. See Exhibit C to the July 22 letter. Thus, the
 accounting before that date is irrelevant. As evidenced by the accounting, LMTS has reduced
 the Note balance by $26,681.48, in light of additional collections. The revised Note balance is
 now $120,330.52, which is due in full.

        Second, LMTS rejects the contention that the Note balance should be offset by $96,000
 apparently incurred by Mr. McCurley in connection with accounting services. As your client
 knows, the "outside accountant" was Mr. McCurley's son who had recently graduated from
 college and was trained by LMTS at its corporate office. Those accounting services were not
 requested or required by LMTS.

         Third, the claim that Mr. McCurley was "forcee to sign the Note "to keep his job" is
 wholly untrue. Mr. McCurley voluntarily agreed to the terms of the Note as a result of his own
 obligations in connection with the Cardile Brothers matter. See Exhibit A to the July 22 letter.
 That claim is especially dubious given that your client, as recently as December 16, 2016, stated
 in writing that he would "honor the Cardile debt as promised." See Exhibit C to the July 22
 letter.




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  James Edward McCurley II
  August 18,2017
  Page 2


         Finally, the contention that LMTS was negligent or mismanaged the Cardile Brothers
  debt has absolutely no support. Instead, discovery will prove that LMTS offered Mr. McCurley
  assistance on multiple occasions, which your client refused. Moreover, as your client is aware,
  agents are solely responsible for determining when to cease doing business with a customer.
  Thus, LMTS bears no responsibility for Mr. McCurley's poor business decisions vis-à-vis
  Cardile Brothers.

          In light of the foregoing, LMTS hereby renews its demand Mr. McCurley pay the entire
  Note balance on or before August 31, 2017. A certified check in the amount of $120,330.52
  shall be made payable to L&M Transportation Services, Inc. and delivered to:

                 Benesch,Friedlander, Coplan & AronoffLLP
                 222 Delaware Avenue, Suite 801
                 Wilmington,DE 19801-1611
                 Attn: Kevin M.Capuzzi

         In the event that the Note balance is not paid in full on or before August 31, 2017, LMTS
  will take all measures necessary to recover the Note balance and all costs of collection,
  including, without limitation, pre-judgment interest, post-judgment interest, and attorneys' fees.

         LMTS expressly reserves all rights to exercise any and all remedies that may be available
 to it without further notice, whether arising by contract, operation of law, or otherwise. Thank
 you.

                                                  Sincerely,

                                                  BENESCH,FRIEDLANDER,
                                                   COPLAN & ARONOFF LLP




                                                  Eric L. Zalud

 Enclosures




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           EXHIBIT A




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  Jlmmy McCurley                                                                        5110/2017
  Recap to Finalize all Accounting wl LMTS - Revised"


  Total Commission Reports:                                               $45,154.00
  Total Deductions:                                                      ($18,472.52)

  Gross Amount to be Applied to Promissory Note:                          $26,681.48



  Promissory Note Balance as of 12/15/2016:                              $147,012.00
  Gross Amount of Final To Be Applied:                                   ($26,681.48)
  Balance Remaining:                                                     $120,330.52



 *Revised once Mr. Greens paid last three loads & with any collections from All State
  thru 5/9/2017.




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  Jimmy McCurley                                                                                 5/10/2017
  Recap to Finallze all Accounting w/ LMTS - Revised*

  Commission Reports:
  December Report                            $24,020.00
  January Report                             $12,332.00
  February Report                             $7,122.00
  March Report(3/1/17 - 3/16/17)                $960.00
  April Report                                  $720.00

  Total:                                    $45,164.00




 *Revised once Mr. Greens paid last three loads in April & with any collections from All State
  thru 5/9/2017.




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Jimmy McCurley
Recap to Finalize all Accounting w!LMTS • Revised"                                                                                          5/10/2017

Open Issues for Jimmy McCurley:                                                                Total Loss:

Mlscellaneous:
1. *488650 Pacific Group Express load voided                                                       ($3,017.20)    @           60%         ($1,810.32)
          1 advance = 3017.20 to be charged off - email to Betsy 12/21/16
           Jhrimy unable to collect from carrier - oul of business

2. Loans - Pacific Group Express to be charged off                                                  ($591.59)     (0)         60%    =     ($354.95)
           Ryder invoices paid by LMTS in 2016
           Amounts: $139.75. $211.75 & $240.09 = $591.59




Clalmso
1. Load ft 489872- D & K Transport Services                                                       ($21,426.01)    @           60%    =   (512,85561)
            Amount not collected on claim as of
            3116f2017 =$24.774.41 (claJm amt deducted from Mr. Greens check)
            Applied carrier pay = $2,882.80 for Ld # 489672 and $465.60 for Lde 469774
            Commission GP caidd 3/1/17

2. Load #493586 -All State Logistic Services                                                       ($2,735.54)                            ($1,641.32)
          Amount not collected on claim as of 3/16/2017                                            ($3,017.20)    @                       ($1,810.32)
          Potential Claim amount =$ 12,861.38(per claim forms - no invoices recied) NOT PAID
          Holding funds = $8,125.84 in hold folder to apply once claim inv recr/d.
          Collected frorn carrier = $ 2,000.00(1,000 on 3/31 and 1,000 on 4/13)
          Comdata issued on load = 53,017.20
          No freight recred from Sysco as of 3116/2017(sent freight bfil remote 1/25/17)
                                                                                                                 Totai Deductions:       ($18,472.52)1

*Revised once Mr. Greens paid last three loads & with any collections from'All State
 thru 5/92017.




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JS 44 (Rev. 06/17)                                                               CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                   DEFENDANTS
    L&M Transportation Services, Inc.                                                                             James Edward McCurley, II

        (b) County of Residence of First Listed Plaintiff               Wake County, NC                             County of Residence of First Listed Defendant             Covington County, AL
                                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                               THE TRACT OF LAND INVOLVED.

        (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                (For Diversity Cases Only)                                       and One Box for Defendant)
u 1        U.S. Government                 u 3      Federal Question                                                                     PTF      DEF                                           PTF      DEF
             Plaintiff                                (U.S. Government Not a Party)                        Citizen of This State         u 1      u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                              of Business In This State

u 2        U.S. Government                 x4
                                           u        Diversity                                              Citizen of Another State       u 2      x 2
                                                                                                                                                   u        Incorporated and Principal Place   xu   5   u 5
             Defendant                                (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                           Citizen or Subject of a        u 3      u    3   Foreign Nation                      u 6     u 6
                                                                                                             Foreign Country
 IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                 Click here for: Nature of Suit Code Descriptions.
I      CONTRACT                             TORTS                                                            FORFEITURE/PENALTY                        BANKRUPTCY                    OTHER STATUTES             I
    u 110 Insurance                           PERSONAL INJURY                PERSONAL INJURY               u 625 Drug Related Seizure         u 422 Appeal 28 USC 158          u 375 False Claims Act
    u 120 Marine                          u   310 Airplane                 u 365 Personal Injury -               of Property 21 USC 881       u 423 Withdrawal                 u 376 Qui Tam (31 USC
    u 130 Miller Act                      u   315 Airplane Product               Product Liability         u 690 Other                              28 USC 157                       3729(a))
    u 140 Negotiable Instrument                    Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
    u 150 Recovery of Overpayment         u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
          & Enforcement of Judgment                Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
    u 151 Medicare Act                    u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
    u 152 Recovery of Defaulted                    Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
          Student Loans                   u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
          (Excludes Veterans)             u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
    u 153 Recovery of Overpayment                  Liability                PERSONAL PROPERTY                          LABOR                    SOCIAL SECURITY                u 480 Consumer Credit
          of Veteran’s Benefits           u   350 Motor Vehicle            u 370 Other Fraud               u 710 Fair Labor Standards         u 861 HIA (1395ff)               u 490 Cable/Sat TV
    u 160 Stockholders’ Suits             u   355 Motor Vehicle            u 371 Truth in Lending                 Act                         u 862 Black Lung (923)           u 850 Securities/Commodities/
    x 190 Other Contract
    u                                             Product Liability        u 380 Other Personal            u 720 Labor/Management             u 863 DIWC/DIWW (405(g))               Exchange
    u 195 Contract Product Liability      u   360 Other Personal                 Property Damage                  Relations                   u 864 SSID Title XVI             u 890 Other Statutory Actions
    u 196 Franchise                               Injury                   u 385 Property Damage           u 740 Railway Labor Act            u 865 RSI (405(g))               u 891 Agricultural Acts
                                          u   362 Personal Injury -              Product Liability         u 751 Family and Medical                                            u 893 Environmental Matters
                                                  Medical Malpractice                                             Leave Act                                                    u 895 Freedom of Information
I           REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS             u 790 Other Labor Litigation         FEDERAL TAX SUITS                    Act
    u   210 Land Condemnation             u   440 Other Civil Rights         Habeas Corpus:                u 791 Employee Retirement          u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
    u   220 Foreclosure                   u   441 Voting                   u 463 Alien Detainee                  Income Security Act                 or Defendant)             u 899 Administrative Procedure
    u   230 Rent Lease & Ejectment        u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
    u   240 Torts to Land                 u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
    u   245 Tort Product Liability                Accommodations           u 530 General                                                                                       u 950 Constitutionality of
    u   290 All Other Real Property       u   445 Amer. w/Disabilities -   u 535 Death Penalty                   IMMIGRATION                                                         State Statutes
                                                  Employment                 Other:                        u 462 Naturalization Application
                                          u   446 Amer. w/Disabilities -   u 540 Mandamus & Other          u 465 Other Immigration
                                                  Other                    u 550 Civil Rights                    Actions
                                          u   448 Education                u 555 Prison Condition
                                                                           u 560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original
X               u 2 Removed from                                u 3        Remanded from              u 4 Reinstated or       u 5 Transferred from    u 6 Multidistrict                  u 8 Multidistrict
           Proceeding                 State Court                          Appellate Court                Reopened                Another District            Litigation -                   Litigation -
                                                                                                                             (specify)                        Transfer                      Direct File
                                               Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                                Breach of promissory note and agency agreement
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                       DEMAND $                                  CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                               120330.52                               JURY DEMAND:         u Yes
                                                                                                                                                                             X          u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                DOCKET NUMBER
DATE                                                                           SIGNATURE OF ATTORNEY OF RECORD
    10/2/2017                                                                            /s/ John M. Sperati
FOR OFFICE USE ONLY

        RECEIPT #                        Case 5:17-cv-00503-BO
                                      AMOUNT                       Document
                                                            APPLYING IFP    1-6 Filed  10/05/17 PageMAG.
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                     Eastern District
                                                    __________        of North
                                                                 District      Carolina
                                                                          of __________

            L&M Transportation Services, Inc.                         )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 5:17-cv-00503
                                                                      )
                James Edward McCurley, II                             )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) James Edward McCurley, II
                                           406 North Maloy Street
                                           Opp, Alabama 36467




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John M. Sperati
                                           Smith Debnam Narron Drake
                                           Saintsing & Myers, LLP
                                           4601 Six Forks Road, Suite 400
                                           Raleigh, North Carolina 27609


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                           Signature of Clerk or Deputy Clerk




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                  Case 1:18-cv-00366-WS-MU
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                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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